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                        UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION
In re:                                 : Case No. 11-59687
                                       : Chapter 7 (Judge Hoffman)
Grant Riley                            : SSN: xxx-xx-4838
Melissa Riley                          : SSN: xxx-xx-2273
2346 Stargrass Avenue                  :
Grove City, Ohio 43123                 :
                                       :
                                       :
                                       :
                                       :
                      Debtors.         :

     TRUSTEE’S WITHDRAWAL OF MOTION FOR TURNOVER OF ANNUITY
       PAYMENTS RECEIVED BY DEBTOR, MELISSA RILEY [DOC. #21]


       Susan L. Rhiel, Trustee of this estate, hereby withdraws the Motion for Turnover of

Annuity Payments Received by Debtor, Melissa Riley [Doc. #21] filed on January 6, 2012.

                                                  Respectfully submitted,

                                                  /s/ Susan L. Rhiel
                                                  Susan L. Rhiel, Trustee
                                                  RHIEL & ASSOCIATES CO., L.P.A.
                                                  394 East Town Street
                                                  Columbus, Ohio 43215
                                                  Telephone: (614) 221-4670
                                                  Facsimile: (614) 232-9306

                                CERTIFICATE OF SERVICE

       The undersigned does hereby certify that a true and accurate copy of the foregoing was

served upon the parties listed below by electronic and/or regular U.S. mail, postage prepaid, this

1st day of February, 2012.

                                             /s/ Susan L. Rhiel
                                             Susan L. Rhiel
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Electronic service through ECF system:

Office of the U.S. Trustee
170 N. High Street, Suite 200
Columbus, OH 43215

Ralph Kerns, Esq.
6797 N. High Street
Suite 325
Worthington, OH 43085

Regular U.S. Mail:

Grant and Melissa Riley
2346 Stargrass Avenue
Grove City, Ohio 43123




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